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  Lt. Governor                                                                                                       Solicitor General

                                                      July 31, 2024
        VIA ECF
     United States District Court
     Clarkson S. Fisher Building
     402 East State Street
     Trenton, New Jersey 08608
               Re: Association of New Jersey Rifle & Pistol Clubs, Inc., et al. v. Platkin, et al.
               (“ANJRPC”), No. 3:18-cv-10507; Cheeseman, et al. v. Platkin, et al., No.
               1:22-cv-04360; Ellman, et al. v. Platkin, et al., No. 3:22-cv-04397
     Dear Judge:
               The State writes regarding the Court’s Memorandum (Dkt. 228) and Order and
     Judgment (Dkt. 229) in the above-captioned cases.1 The State is considering filing a
     motion for reconsideration and/or a motion for a stay pending appeal in the district court
     as required by Federal Rule of Appellate Procedure 8(a)(1), and requests a conference
     with Your Honor to discuss a briefing schedule for these potential motions. For example,
     the Order and Judgment provides that “the effect of this Order and Judgment is sua sponte
     stayed for thirty days.” (Dkt. 229). However, that will not be enough time for an appeal
     in this matter to be resolved. Thus the State expects that a motion to this Court for a stay
     pending appeal is necessary, and seeks to confer with the Court about the briefing
     schedule for that motion and a potential motion for reconsideration.
               Thank you for your consideration.
                                                    Respectfully yours,
                                                    /s/ Christopher J. Ioannou
                                                    Christopher J. Ioannou
                                                    Deputy Attorney General
     Cc: All counsel via ECF
1
    All docket references are to the lead case, ANJRPC, No. 3:18-cv-10507.



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